                         UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISON
                              Case No. 3:19-cv-00522

SERIES 1 OF OXFORD                   )
INSURANCE COMPANY                    )
NC, LLC,                             )
            Plaintiff,               )
v.                                   )              NOTICE OF VOLUNTARY DISMISSAL
                                     )              WITHOUT PREJUDICE
BUCKLEY, LLP,                        )
                                     )
              Defendant.             )



       NOW COMES the Plaintiff, Series 1 of Oxford Insurance Company NC, LLC, pursuant to

Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and hereby gives notice of voluntary

dismissal without prejudice. The parties have conferred and Buckley, LLP consents to this

dismissal.

       Respectfully submitted, this the 7th day of November 2019.



                                            /s/ James P. Cooney III
                                            James P. Cooney III
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                              CERTIFICATE OF SERVICE

      I hereby certify that on November 7, 2019, a copy of the foregoing Notice of Voluntary
Dismissal Without Prejudice was served on all counsel of record using the Court’s ECF system,
which will send a notification of such filing.




                                          /s/ James P. Cooney III
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